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 6                                  UNITED STATES DISTRICT COURT
 7                                          DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10          v.                                         ) 2:11-CR-327-PMP-(CWH)
                                                       )
11 ANGEL SESTEAGA,                                     )
                                                       )
12                          Defendant.                 )
13                                       FINAL ORDER OF FORFEITURE

14          On October 9, 2012, the United States District Court for the District of Nevada entered a

15 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

16 Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c); and Title 26, United States

17 Code, Section 5872(a) and Title 28, United States Code, Section 2461(c); and based upon the plea of

18 guilty by defendant ANGEL SESTEAGA to criminal offenses, forfeiting specific property alleged in

19 the Criminal Indictment and agreed to in the Plea Memorandum and shown by the United States to

20 have a requisite nexus to the offenses to which defendant ANGEL SESTEAGA pled guilty. Criminal

21 Indictment, ECF No. 1; Change of Plea Minutes, ECF No. 82; Plea Memorandum, ECF No. 83;

22 Preliminary Order of Forfeiture, ECF No. 87.

23          This Court finds the United States of America published the notice of the forfeiture in

24 accordance with the via the official government internet forfeiture site, www.forfeiture.gov,

25 consecutively from October 14, 2012, through November 12, 2012, and notified all known third

26 parties by personal service or by regular mail and certified mail return receipt requested, of their right
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 1 to petition the Court. Notice of Filing Proof of Publication, ECF No. 93; Notice of Filing Service of

 2 Process, ECF No. 129.

 3           On January 8, 2013, Patrick John Allen, II was served by personal service with a copy of the

 4 Preliminary Order of Forfeiture and the Notice. Notice of Filing Service of Process, ECF No. 129, p.

 5 2-5 and 16-18.

 6           On January 8, 2013, the U.S. Marshal’s Service attempted to personally serve Bennett Lynden

 7 Madole with a copy of the Preliminary Order of Forfeiture and the Notice at 1905 Deosma Street, Las

 8 Vegas, Nevada, but could not locate him. Notice of Filing Service of Process, ECF No. 129, p. 20-23

 9 and 34-36.

10           On March 14, 2013, the U.S. Marshal’s Service attempted to personally serve Bennett Lynden

11 Madole with a copy of the Preliminary Order of Forfeiture and the Notice at 1724 Adra Ct., Las

12 Vegas, Nevada, but could not locate him. Notice of Filing Service of Process, ECF No. 129, p. 38-41

13 and 52-54.

14           On August 27, 2013, Federal Bureau of Investigation Special Agent Warren R. Burke signed a

15 Declaration Regarding Service of Process stating that after further investigation it was found that

16 Bennett Lynden Madole died on October 22, 2011. Notice of Filing Service of Process, ECF No. 129,

17 p. 56-59.

18          This Court finds no petition was filed herein by or on behalf of any person or entity and the

19 time for filing such petitions and claims has expired.

20          This Court finds no petitions are pending with regard to the assets named herein and the time

21 for presenting such petitions has expired.

22          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

23 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

24 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

25 32.2(c)(2); Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section

26 2461(c); Title 26, United States Code, Section 5872(a) and Title 28, United States Code, Section

                                                        2
        Case
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 1 2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to

 2 law:

 3                  (a)    Maverick model 88 12 gauge short-barreled shotgun, serial number

 4                         MV04934G;

 5                  (b)    Mossberg model 500A 12 gauge shotgun, serial number L244961;

 6                  (c)    Intratec Model Tec-9 9mm, serial number 23988;

 7                  (d)    Russian SKS 7.62X39 rifle, with bayonet, serial number 9937905;

 8                  (e)    Beretta model 92FS Compact 9mm pistol, serial number E31982Z;

 9                  (f)    a homemade Mac-11 type 9mm pistol;

10                  (g     Keltic CNC Industries, Inc. P11 pistol 9mm, serial number ASK60;

11                  (h)    any and all ammunition;

12                  (i)    an in personam criminal forfeiture money judgment of $900.00 in United States

13                         Currency; and

14                  (j)    an in personam criminal forfeiture money judgment of $300.00 in United States

15                         Currency (“property”).

16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

17 including but not limited to, currency, currency equivalents, certificates of deposit, as well as

18 any income derived as a result of the United States of America’s management of any property

19 forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of

20 according to law.

21          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

22 certified copies to the United States Attorney’s Office.

23          DATED this __ 19th
                          day ofday of November, 2013.
                                 _______________, 2013.

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25                                                UNITED STATES DISTRICT JUDGE
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 1                                       PROOF OF SERVICE

 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with a copy of the Final Order of Forfeiture on November 19, 2013, by the

 4 below identified method of service:

 5         CM/ECF:
 6         Michael Ryan Pandullo
           700 South Third Street
 7         Las Vegas, NV 89101
           Michael.pandullo@gmail.com
 8         Attorney for Michael Paul Matulich
 9         Paola M. Armeni
           Gordon & Silver, Ltd.
10         3960 Howard Hughes Pkwy 9th Fl.
           Las Vegas, NV 89169
11         usdcnotices@gordonsilver.com
           Attorney for Bo Arden Ellison
12
           James Hartsell
13         Law Offices of James Hartsell
           720 S. 4th St. Ste. 100
14         Las Vegas, NV 89101
           james@harselllaw.com
15         Attorney for Michael Clyde Duty
16         Richard F. Boulware
           Federal Public Defender
17         411 E. Bonneville
           Las Vegas, NV 89101
18         Richard_Boulware@fd.org
           Attorney for Angel Sesteaga
19

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21
                                                       /s/ Ray Southwick
22                                                     Ray Southwick
                                                       Forfeiture Support Associates Paralegal
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